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                      EXHIBIT C
CaseCase
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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN


  UNITED STATES OF AMERICA,

         Plaintiff,
                                                                   Hon. Sally J. Berens
  v.
                                                                   Case No. 1:24-mj-00118
  BRADLEY ARKESTEYN,

         Defendant.
  ________________________________/

                                            ORDER

        Based on facts I have learned after the entry of the criminal complaint and the initial

 appearance in this matter on March 20, 2024, I recuse myself under 28 U.S.C. § 455(a). The Clerk

 of Court shall reassign this case to another magistrate judge in accordance with the approved

 procedure.

        IT IS SO ORDERED.

 Dated: March 22, 2024                                       /s/ Sally J. Berens
                                                            SALLY J. BERENS
                                                            U.S. Magistrate Judge
